73 F.3d 358NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Julian Edward ROCHESTER, Petitioner-Appellant,v.SOUTH CAROLINA DEPARTMENT OF CORRECTIONS COMPLIANCE OFFICEAT HEADQUARTERS;  T. Travis Medlock, AttorneyGeneral of the State of South Carolina,Respondents-Appellees.
    No. 94-6896.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Dec. 26, 1995.
    
      Julian Edward Rochester, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny the motion for a certificate of probable cause to appeal, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.  Rochester v. South Carolina Dep't of Corrections, No. CA-93-2670 (D.S.C. July 14, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    